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                        UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF PENNSYLVANIA

 KARL KREIG,

                       Plaintiff                     CIVIL ACTION NO. 3:21-CV-0074

        v.                                                  (MEHALCHICK, M.J.)

 WALMART STORES, INC.,

                       Defendant


                                             ORDER

       This case has been referred to United States Magistrate Judge Karoline Mehalchick,

pursuant to the consent of the parties.

       Case management dates, including the trial date, will be established for this case at the

case management conference under the working assumption that the parties will consent to

have the magistrate judge conduct all proceedings, including jury or non-jury trial and entry

of judgment. See, 28 U.S.C. §636.

       AND NOW, this 15th day of March, 2021, IT IS HEREBY ORDERED THAT:

   1. A telephonic case management conference will be conducted by the court on

       Wednesday, March 31, 2021 at 10:30 AM. Counsel shall use the following call

       in numbers for the conference call:

                             Toll Free:             888-557-8511

                             Access Code:           5640337

   2. The primary purpose of this conference will be to establish case management

       deadlines to enable this action to go forward as efficiently as possible. Participation

       in this conference by counsel or by pro se litigants is mandatory.
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3. If counsel of record is unable to participate in the conference, the court shall be

   notified of the name of the substitute counsel two (2) business days in advance of

   the date of the conference. The telephone number to call is (570) 207-5740.

4. Counsel are advised to comply with Rule 16.3(a) of the Rules of Court for the

   Middle District of Pennsylvania. Rule 16.3 requires lead counsel for each party to

   meet prior to the management conference and complete a “Joint Case

   Management Plan” form. The completed form, which is set forth in Appendix of

   the local rules, must be filed at least seven (7) days prior to the conference.

5. Counsel shall note that this district has not opted out of the Federal Rule of Civil

   Procedure 26. The joint case management plan contemplates discovery prior to the

   Rule 26(f) meeting and is, therefore, deemed to be an exception to the limitation

   on discovery contained in the first sentence of Rule 26(d). Counsel shall not cease

   active discovery pending disposition of a motion to dismiss.

6. At the case management conference, the captioned action will be placed on one of

   the following tracks:

       a. FAST TRACK–        Referring the case to a United States Magistrate
          Judge for recommendations.

       b. EXPEDITED TRACK- Setting a trial date of not more than 240 days
          from the filing of the complaint.

       c. STANDARD TRACK – Setting a trial date of not more than 365 days
          from the filing of the complaint.

       d. COMPLEX TRACK – Setting a trial date in excess of 365 days from
          the filing of the complaint.




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7. The parties are advised that once the deadlines have been established, extensions

   of those times will not be granted, except under exceptional circumstances.




                                             s/Karoline Mehalchick
                                             KAROLINE MEHALCHICK
                                             United States Magistrate Judge




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